      Case 2:11-cv-00730-MLCF-DEK Document 4 Filed 04/18/11 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

HOLLY BROWN                                  * CIVIL ACTION NO.
PLAINTIFF,                                   * 2:11-cv-00730-MLCF- DEK
                                             *
v.                                           *
                                             * NOTICE OF SETTLEMENT
NORTHSTAR LOCATION                           *
SERVICES, LLC.                               *
DEFENDANT                                    *


                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, HOLLY BROWN, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and all

parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.

                                      Respectfully Submitted,


Dated: April 18, 2011                 By: /s/ Kelli Denise Mayon
                                              Kelli Denise Mayon, Esq.
                                              4429 Herrmann Street, Apt. D
                                              Metairie, LA 70006
                                              Telephone: (504) 401-0533
                                              Attorney for Plaintiff
                                              kellimayon@gmail.com




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                                    NOTICE OF SETTLEMENT
      Case 2:11-cv-00730-MLCF-DEK Document 4 Filed 04/18/11 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via
ELECTRONIC MAIL upon the following:
Linda M. Leising
Northstar Location Services, LLC
4285 Genesee Street
Cheektowaga, NY 14225
lleising@northstarlocation.com

Dated: April 18, 2011                        By: /s/ Kelli Denise Mayon
                                                     Kelli Denise Mayon, Esq.




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                                   NOTICE OF SETTLEMENT
